
416 So.2d 903 (1982)
STATE of Florida, DEPARTMENT OF HEALTH AND REHABILITATIVE SERVICES, and Division of Risk Management, Appellants,
v.
Linda G. WATERS, Appellee.
No. AI-294.
District Court of Appeal of Florida, First District.
July 14, 1982.
Ted R. Manry III and James C. Delesie, of MacFarlane, Ferguson, Allison &amp; Kelly, Tampa, for appellants.
W. James Kelly, Lakeland, for appellee.
PER CURIAM.
The employer/carrier seeks to appeal a workers' compensation order finding claimant sustained a compensable accident but reserving jurisdiction to determine her entitlement to benefits. We are without jurisdiction to review this nonfinal order. See Mills Electrical Contractors v. Marthens, 417 So.2d 700 (Fla. 1st DCA 1982); The Wash House v. Tucker, 413 So.2d 813 (Fla. 1st DCA v. Tucker, 413 So.2d 813 (Fla. 1st DCA 1982); General Electric Co. v. Hawkins, 413 So.2d 836 (Fla. 1st DCA 1982). The appeal is therefore dismissed sua sponte, without prejudice to review of the order in the event of an appeal from a final order awarding benefits.
BOOTH, WENTWORTH and WIGGINTON, JJ., concur.
